      Case 1:20-cv-00119-BAH           Document 65-4        Filed 06/24/20      Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

      DISTRICT OF COLUMBIA,
      STATE OF NEW YORK, STATE
      OF CALIFORNIA, STATE OF
      COLORADO, STATE OF
      CONNECTICUT, STATE OF
      HAWAII, STATE OF ILLINOIS,
      STATE OF MAINE, STATE OF
      MARYLAND,
      COMMONWEALTH OF
      MASSACHUSETTS, ATTORNEY
      GENERAL DANA NESSEL ON                           Civ. Action No. 1:20-cv-00119-BAH
      BEHALF OF THE PEOPLE OF
      MICHIGAN, STATE OF
      MINNESOTA, STATE OF
      NEVADA, STATE OF NEW
      JERSEY, STATE OF NEW
      MEXICO, STATE OF OREGON,
      COMMONWEALTH OF
      PENNSYLVANIA, STATE OF
      RHODE ISLAND, STATE OF
      VERMONT, COMMONWEALTH
      OF VIRGINIA, and CITY OF
      NEW YORK,

                         Plaintiffs,

              v.

      U.S. DEPARTMENT OF
      AGRICULTURE; GEORGE
      ERVIN PERDUE III, in his official
      capacity as Secretary of the U.S.
      Department of Agriculture, and
      UNITED STATES OF AMERICA,

              Defendants.

                   DECLARATION OF JOSHUA RIVERA IN SUPPORT OF
                    PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

Pursuant to 28 U.S.C. § 1746, I, Joshua Rivera, declare and state as follows:

       1.      I am over the age of eighteen (18) years, competent to testify to the matters
contained herein, and testify based on my personal knowledge and information.



                                                 1
      Case 1:20-cv-00119-BAH           Document 65-4        Filed 06/24/20     Page 2 of 3




        2.      I am the Economic Stability Administration (ESA) Policy Director for the
Michigan Department of Health and Human Services (MDHHS). I have worked on behalf of
low-income households throughout my career. Prior to my position as ESA Policy Director, I
served as the Senior Data and Policy Advisor at Poverty Solutions at the University of Michigan.
I also serve as a resource to the MDHHS director and his administration regarding improving
public assistance programs for MDHHS clients and Michigan residents in need.

       3.      I am aware that the federal government in December 2019 issued a final rule
“Supplemental Nutrition Assistance Program: Requirements for Able-Bodied Adults Without
Dependents” 84 Fed. Reg. 66,782 (Dec. 5, 2019) (the “Final Rule”). I have reviewed the Final
Rule and am aware of its direct implications on the administration of the Supplemental Nutrition
Assistance Program (SNAP), formerly known as the Food Stamp Program, within Michigan. I
understand that this lawsuit challenges the Final Rule.

        4.      After State Plaintiffs filed their motion for preliminary injunction, the novel
coronavirus that causes the disease known as COVID-19 began spreading throughout Michigan.
The Governor of Michigan, Gretchen Whitmer, responded to the economic and public health
crisis by declaring a state of emergency throughout the entire state on March 10, 2020 (Executive
Order 2020-04). That order has been extended to remain in effect through July 16. Michigan has
had more than 66,798 cases and 6,061 deaths due to the virus.

        5.      The coronavirus (COVID-19) pandemic is causing significant economic harm in
Michigan. To mitigate the spread of the coronavirus, many businesses were forced to close their
doors. As a result of the economic fallout, many Michigan residents lost their jobs. According to
the U.S. Bureau of Labor Statistics, unemployment increased this year from 3.8 percent in
January to 22.7 percent in April, an increase of 497 percent. As a result, applications for
unemployment are at record highs, with nearly 1.05 million claims being filed in April alone. In
Detroit, Michigan’s most populous city, about half of Detroiters report that they are more likely
than not to run out of money in three months due to the COVID-19 crisis. The economic harm
caused by COVID-19 is likely to be protracted as employers resort to permanent layoffs. In fact,
the Upjohn Institute reports that 30 percent of Michigan’s workforce does not expect to be
recalled to their job.

        6.      Many of those experiencing increased financial hardship began relying on SNAP
benefits in order to keep food on the table. For Michigan’s residents receiving food assistance
through the Supplemental Nutrition Assistance Program (SNAP), current conditions make it
extremely difficult to find work and earn an income. The situation in Michigan is uniquely dire,
given that the state’s unemployment rate of 22.7 percent is higher than every state in the nation,
except Nevada.

        7.     In recent months, applications for SNAP increased substantially. From February
through June 2020, MDHHS received 335,612 SNAP applications. The current SNAP caseload
has increased from 628,909 cases (1,175,901 individuals) in February 2020 to 811,099 cases
(1,528,379 individuals) as of this report. By comparison, during the same period in 2019, the
number of SNAP cases decreased by 19,097. Moreover, households applying to SNAP are
coming in facing extreme economic insecurity, with MDHHS seeing an over 50 percent increase
in the number of applicants reporting no income.


                                                 2
      Case 1:20-cv-00119-BAH           Document 65-4        Filed 06/24/20      Page 3 of 3




        8.      The current unemployment rate qualifies Michigan for extended benefits under
the Unemployment Insurance program. This change allows Michigan to receive a statewide
waiver from time limits facing able-bodied adults without dependents (ABAWDs) on SNAP.
States are eligible for a waiver using this criterion when unemployment rises rapidly. The United
States Department of Agriculture, Food and Nutrition Services (USDA FNS) routinely approved
these types of waivers during the Great Recession. Were the Rule to go into effect, however,
Michigan could not apply for waivers of the ABAWD work requirements based on this criterion.
Given the current economic recession, requiring SNAP recipients that are ABAWDs to meet
work requirements sets those recipients up for failure. If Michigan does not have the flexibility to
apply for waivers of the ABAWD work requirements, SNAP recipients within the state will be in
a precarious economic position as it is immensely more difficult now to find and maintain work
than it has been in recent memory due to historic levels of unemployment.

    I declare under penalty of perjury that the forgoing is true and correct and of my own
personal knowledge.

                      19
   Executed on June ______, 2020 in Lansing, Michigan.


                                              ____________________________________
                                              Joshua Rivera
                                              Economic Stability Administration Policy Director
                                              Michigan Department of Health & Human Services




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